                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

G. MARIE NEWBY, Individually, and  )
as Administratrix of THE ESTATE OF )
TERRY CHILDRESS,                   )
                                   )
      Plaintiffs,                  )
                                   )
v.                                 )               Civil Action Number 3:22-CV-93
                                   )               Chief Judge Waverly D. Crenshaw, Jr.
CORECIVIC OF TENNESSEE, LLC,       )               Magistrate Judge Jeffery S. Frensley
as Owner and Operator of TROUSDALE )               Jury Demand
TURNER CORRECTIONAL CENTER, )
DAMON HININGER, STEVE CONRY, )
RAYMOND BYRD, and SHAWNA           )
CURTIS,                            )
                                   )
      Defendants.                  )


                     DEFENDANT SHAWNA CURTIS’ STATEMENT
                        OF UNDISPUTED MATERIAL FACTS


         Defendant Shawna Curtis (“Curtis”) respectfully submits this Statement of Undisputed

Material Facts in support of her Motion for Summary Judgment. Curtis submits that the following

facts are undisputed for the purposes of her Motion for Summary Judgment:

         1.    Curtis is a former employee of CoreCivic of Tennessee, LLC (“CoreCivic”), and

 she specifically was employed by the company from January 14, 2019, through March 17, 2020.

 She worked at the Trousdale Turner Correctional Center (“Trousdale”) during this timeframe.

 (Declaration of Shawna Curtis ¶ 2).

         RESPONSE:




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      2.      Curtis was not employed by CoreCivic on December 8, 2020, she did not work at

Trousdale on December 8, 2020, and she did not classify Tymothy Willis (“Willis”) on December

8, 2020. (Id. ¶ 3).

      RESPONSE:



      3.      A true and correct copy of Curtis’ Separation Notice from CoreCivic is attached to

the Declaration of Shawna Curtis as Exhibit A. (Id. ¶ 5, Exhibit A).

      RESPONSE:



                                                   Respectfully submitted,


                                                   /s/ Joseph F. Welborn, III
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                                                   Counsel for Defendants CoreCivic of
                                                   Tennessee, LLC, Damon Hininger, Steven
                                                   Conry, Raymond Byrd, and Shawna Curtis




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                                CERTIFICATE OF SERVICE

        I certify that a true and exact copy of the foregoing has been served upon Filing Users via
the electronic filing system and on other counsel via U. S. Mail, first-class postage prepaid, this
July 19, 2022, on the following:

 Daniel A. Horwitz                                  Brice M. Timmons
 Lindsay E. Smith                                   Craig A. Edgington
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                                                            /s/ Joseph F. Welborn, III




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